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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NORTH DAKOTA
                                         Eastern Division


ALPS PROPERTY & CASUALTY
INSURANCE COMPANY,
                                                                     Case No. 3:19-cv-00195-ARS
                   Plaintiff,

v.

BREDAHL AND ASSOCIATES, P.C.;
JEFF S. BREDAHL, ESQ.; LEGACY
STEEL BUILDING, INC.; WANE
ENGKJER; and BRUCE ENGKJER

                   Defendants.


 PLAINTIFF ALPS PROPERTY & CASUALTY INSURANCE COMPANY’S MOTION
                         FOR SUMMARY JUDGMENT
______________________________________________________________________________

           Plaintiff ALPS Property & Casualty Insurance Company (“ALPS”), pursuant to Fed. R.

Civ. P. 56 and D.N.D. Civ. L. R. 7.1(A), respectfully moves the Court for an Order granting

summary judgment in favor of ALPS on its claims for declaratory relief against Defendants

Bredahl and Associates, P.C. (“Bredahl Firm”), Jeff A. Bredahl (“Bredahl” and together with the

Bredahl Firm, “Bredahl Defendants”), Legacy Steel Building, Inc. (“Legacy Steel”), Wane

Engkjer (“W. Engkjer”), and Bruce Engkjer (“B. Engkjer” and together with Legacy Steel and

W. Engkjer, “ Legacy Defendants”)1.

           For the reasons described in the supporting memorandum filed contemporaneously

herewith, there is no genuine dispute as to any material fact and ALPS is entitled to judgment as a




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    ALPS will refer to the Bredahl Defendants and the Legacy Defendants collectively as “Defendants”.


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matter of law on its complaint for declaratory relief against Defendants (ECF No. 1). As the factual

basis for this motion (“Motion”), ALPS relies on:

         (1)      pleadings and other filings in the above-captioned case, which ALPS refers to by

ECF Document Number (“ECF No. __”) in the docket;

         (2)      pleadings and other filings in the suit styled Legacy Steel Building, Inc., et al. v.

Bredahl, et al., Case No. 09-2019-CV-01164 (Dist. Ct. Cass Cty., N.D.) (“Legacy Suit”),

including, but not limited to, the Legacy Defendants’ January 8, 2020 First Amended Complaint,

a true and correct copy of which is attached as Exhibit A;2

         (3)      pleadings and other filings in the suit styled Elite Inspection Services, Inc. v. Legacy

Steel Building, Inc., et al., Civil Case No. 53-2015-CV-01235 (Dist. Ct. Williams Cty., N.D.);

         (4)      Lawyers Professional Liability Insurance Policy No. ALPS20836-1 issued by

ALPS to the Bredahl Firm for the policy period October 1, 2017 to October 1, 2018 (“Policy”)

(ECF No. 1-2);

         (5)      the Affidavit of Rob Tameler in Support of ALPS’s Motion for Summary Judgment

(“Tameler Affidavit”), attached as Exhibit B;

         (6)      Exhibits C through J, true and correct copies of which are attached to this Motion

and authenticated by the Tameler Affidavit; and

         (7)      other matters of record.




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  Pursuant to Rule 201 of the Federal Rules of Evidence, the Court may take judicial notice of facts: (i) “generally
known within the [Court’s] territorial jurisdiction”; or (ii) which “can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). This rule allows the Court to take
judicial notice of documents filed in related state court proceedings. See, e.g., Graham v. Catamaran Health Solutions
LLC, 940 F.3d 401, 405 n.1 (8th Cir. 2017); Thompson v. R.J. Reynolds Tobacco Co., 760 F.3d 913, 917-18
(8th Cir. 2014); Levy v. Ohl, 477 F.3d 988, 991 (8th Cir. 2007); DeGroot v. Stutsman Cty. Park Bd. Comm’rs,
No. 3:06-cv-71, 2007 WL 295615, at *1-*2 (D.N.D. Jan. 25, 2007).


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         WHEREFORE, ALPS moves the Court for an Order granting summary judgment in favor

of ALPS and against Defendants declaring: (1) the Policy does not afford coverage to the Bredahl

Defendants for the Legacy Suit; (2) ALPS has no duty to defend or indemnify the Bredahl

Defendants under the Policy with respect to the Legacy Suit; and (3) ALPS is entitled to an award3

in the amount of attorneys’ fees and costs ALPS paid to defend the Bredahl Defendants against

the Legacy Suit.

    Dated: March 17, 2020                                  /s/ Kevin D. Hartzell
                                                           Kevin D. Hartzell (pro hac vice)
                                                           Brooke H. McCarthy (pro hac vice)
                                                           KUTAK ROCK LLP
                                                           1650 Farnam Street
                                                           Omaha, NE 68102-2186
                                                           Telephone: (402) 346-6000
                                                           Email: kevin.hartzell@kutakrock.com
                                                           Email: brooke.mccarthy@kutakrock.com

                                                           J. Crisman Palmer
                                                           Gunderson Palmer Nelson Ashmore LLP
                                                           506 Sixth Street
                                                           Post Office Box 8045
                                                           Rapid City, SD 57709
                                                           Telephone: (605) 342-1078
                                                           Email: cpalmer@gpna.com

                                                           Attorneys for Plaintiff ALPS Property &
                                                           Casualty Insurance Company




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  If the Court determines ALPS is entitled to an award in the amount of attorneys’ fees and costs ALPS paid to defend
the Bredahl Defendants against the Legacy Suit, ALPS will submit documentation supporting the amount of the award,
a calculation of which ALPS provided to Defendants in ALPS’s February 14, 2020 Rule 26(a)(1) Initial Disclosures.
As of the date of this Motion, ALPS has paid $20,601.47 in attorneys’ fees and costs in the defense of the Bredahl
Defendants against the Legacy Suit, fees and costs which continue to accrue.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2020, I filed the foregoing ALPS’s Motion for Summary

Judgment with the Clerk of the Court using the CM/ECF system, which will provide notice to:


 Barton J. Cahill, Esq.                           Paul A. Sortland, Esq.
 402 Center Avenue, Suite 200                     SORTLAND LAW OFFICE, PLLC
 Post Office Box 1238                             431 South Seventh Street, Suite 2415
 Moorhead, MN 56561                               Minneapolis, MN 55415
 Email: bcahill@cahill-lawyers.com                Email: sortland@sortland.com

 Counsel for the Bredahl Defendants               Counsel for the Legacy Defendants




                                               /s/ Kevin D. Hartzell
                                               Kevin D. Hartzell




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